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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :      Case No. 21-cr-389-RBW
                                               :
JOSEPH ZLAB,                                   :      40 U.S.C. § 5104(e)(2)(G)
                                               :
                        Defendant.             :


         STATEMENT BY THE UNITED STATES IN SUPPORT OF GUILTY PLEA

         Pursuant to a written plea agreement, dated December 30, 2021, the defendant Joseph Zlab

(“the Defendant”) agrees to plead guilty to Count Five of the Information, which charges him with

Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States

Code, Section 5104(e)(2)(G).

   I.       Elements of the Offense

         To prove that the Defendant is guilty of Parading, Demonstrating, or Picketing in a

Capitol Building, the government must prove the following beyond a reasonable doubt:

         a. That the Defendant paraded, demonstrated, or picketed;

         b. That the Defendant did so in any of the Capitol Buildings; and

         c. That the Defendant did so willfully and knowingly.

   II.      Maximum Penalties

         The maximum penalties for Parading, Demonstrating, or Picketing in a Capitol Building,

in violation of Title 40, United States Code, Section 5104(e)(2)(G), are:

         a. a term of imprisonment not more than 6 months;

         b. a fine not to exceed $5,000; and

         c. a special assessment of $10.
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                                  Respectfully submitted,

                                  MATTHEW GRAVES
                                  United States Attorney

                                  By: /s/ Lucy Sun
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